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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                 September 20, 2021
                          UNITED STATES DISTRICT COURT
                                                                                  Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

ELIE NASSER,                    §
                                §
       Plaintiff,               §
VS.                             § CIVIL ACTION NO. 4:18-CV-4695
                                §
FINANCE OF AMERICA REVERSE LLC, §
et al,                          §
                                §
       Defendants.              §

                                          ORDER

       Pending before the Court is a motion filed by Plaintiff Elie Nassar (“Dr. Nassar”)

in which Dr. Nassar requests that the Court “dismiss all of [Defendant Reverse Mortgage

Solutions, Inc.’s] motions to dismiss [his] claims and strike them from the record.” (Dkt.

209 at p. 7). In his motion, Dr. Nassar explains that Defendant Reverse Mortgage

Solutions, Inc. (“RMS”) cannot invoke its Chapter 11 bankruptcy proceeding to bar his

claims because the presiding bankruptcy court has ruled that a related injunction does not

apply to Dr. Nassar. (Dkt. 209 at pp. 6–7). See Southern District of New York bankruptcy

case number 19-10412.

       Dr. Nassar’s motion (Dkt. 209) is DENIED as moot. The Court has taken judicial

notice that the bankruptcy court presiding over RMS’s bankruptcy issued an order

specifically “find[ing] that the Plan Injunction [in RMS’s bankruptcy proceeding] is not

binding on Dr. Nassar because he was a known creditor of Debtors,1 and the Debtors


1 The “Debtors” referenced in the bankruptcy court’s order included RMS. See Southern District
of New York bankruptcy case number 19-10412 at docket entry 3136, page 2.


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failed to provide him with actual notice of the General Bar Date, the Confirmation

Hearing Notice, or any other matter arising in the [bankruptcy] case.” See Southern

District of New York bankruptcy case number 19-10412 at docket entry 3136, page 24.

The Court has given that information due consideration when making its rulings on the

parties’ various motions; and the trial of this case, which has been postponed indefinitely

on account of the ongoing global pandemic, will be set as soon as practicable.

       SIGNED at Houston, Texas, this 20th day of September, 2021.


                                             ___________________________________
                                             GEORGE C. HANKS, JR.
                                             UNITED STATES DISTRICT JUDGE




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